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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                  Plaintiff,                     Case No. 20-cr-188 (JSR)

             v.

HAMID AKHAVAN and RUBEN WEIGAND,

                  Defendants




       REPLY MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
        RUBEN WEIGAND’S MOTION TO DISMISS THE INDICTMENT
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          Defendant Ruben Weigand (“Weigand”), by and through his undersigned counsel,

respectfully submits this reply memorandum of law in support of his motion to dismiss the

Indictment with prejudice for a violation of the Speedy Trial Act and the Sixth Amendment.

                                            ARGUMENT

I.        Pretrial Motions Did Not Exclude Speedy Trial Act Time Between December 1 and
          February 9

          The Government contends that Mr. Weigand’s calculation of Speedy Trial Act time is

incorrect because certain motions were filed on February 5, 2021, which, according to the

Government stopped the Speedy Trial Act clock. See Gov. Opp. at 6. Specifically, the Government

claims that Speedy Trial Act time stopped on February 5 when the Government filed a motion in

limine to admit business records pursuant to Federal Rule of Evidence 902(11), [ECF No. 135],

and non-party Circle Internet Financial, Inc. (“Circle”) filed a motion to quash Mr. Weigand’s

subpoena duces tecum [ECF No. 137]. Id. The Government’s argument is wrong and is premised

on a misinterpretation of the Act’s automatic exclusion subsection, § 3161(h)(1). Based on this

misinterpretation, the Government incorrectly concludes that 70 non-excludable days had not

elapsed as of February 9.

          The Government acknowledges that, with respect to pretrial motions, § 3161(h)(1)

excludes time in two situations—treating differently1 a pretrial motion that requires a hearing, and




1
    See U.S. v. Smith, 569 F.3d 1209, 1211 (10th Cir. 2009) (“The amount of time occupied by
    consideration of pre-trial motions depends on whether the motions entail a hearing. If there is a
    hearing on the motion, the period of excludable delay extends from the time the motion is filed
    ‘through the conclusion of the hearing on, or other prompt disposition of, such motion.’ 18
    U.S.C. § 3161(h)(1)(D). If not, the excludable period is the time ‘reasonably attributable to any
    period, not to exceed thirty days, during which any proceeding concerning the defendant is
    actually under advisement by the court.’ 18 U.S.C. § 3161(h)(1)(H).”).

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a pretrial motion that is decided on the papers. See id. at 4-5 (quoting Henderson v. United States,

476 U.S. 321, 329 (1986)). Where a pretrial motion requires a hearing, the Speedy Trial Act

excludes time between the date the motion is filed and the conclusion of the hearing. See

Henderson, 476 U.S. at 329. Where a pretrial motion is decided on the papers—which both

February 5 motions were [ECF No. 151, 177]—the Speedy Trial Act excludes up to a 30-day

period after the motion is “under advisement,” i.e., when the court receives all papers it reasonably

expects to receive. Id. at 328-329; see also U.S. v. Colon, 477 F. Supp. 2d 419, 421 (D.P.R. 2007)

(“Motions which require no hearing, such as those at issue, only toll the Speedy Trial Act clock

for thirty (30) days, from the time the court receives all reasonably expected papers.”).

       The earliest date the Court received “all reasonably expected papers” with respect to the

February 5 motions was on February 11, when the Government filed its reply brief in support of

its motion in limine. [ECF No. 148]. The Court received all reasonably expected papers with

respect to Circle’s motion to quash on February 16, when the defendants both filed their opposition

papers. [ECF No. 152, 153]. Therefore, time was not excluded by virtue of motions until February

11, and 70 non-excludable days had indeed elapsed as of February 9.

II.    The Act’s Ends-of-Justice Exception Does Not Apply

       a.      The Court’s Endorsement of the Government’s December 1 Letter Does Not
               Satisfy the Act’s Ends-of-Justice Exception

       The language of the Act is clear: “No such period of delay resulting from a continuance

granted by the court in accordance with this paragraph shall be excludable under this subsection

unless the court sets forth, in the record of the case, either orally or in writing, its reasons for

finding that the ends of justice served by the granting of such continuance outweigh the best

interests of the public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A) (emphasis

added). Nonetheless, the Government argues that, for purposes of satisfying the Act’s ends-of-


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justice exception, the Court can implicitly adopt the reasons outlined in the Government’s

December 1, 2020 letter requesting exclusion of time under the Act. See Gov. Opp. at 7; see also

ECF No. 124. The Government cites no case law to support its position.

          Failing to cite such authority, the Government requests the Court “affirm its findings as to

this case in an Order, including citation to the particular provision of the Speedy Trial Act that

applies, before the Court rules on Weigand’s motion to dismiss.” Gov. Opp. at 8. Although, as the

Government notes, the Supreme Court has suggested that the Speedy Trial Act would allow a court

to set forth its findings on the record at the time it decided a defendant’s motion to dismiss, 2 it is

irrefutable that the “findings must be made . . . before granting the continuance,” and “the

continuance can only be “granted . . . on the basis of [the court's] findings.” Zedner v. United

States, 547 U.S. 489, 506-507 (2006) (quotations omitted; alteration in original). In Zedner, the

Supreme Court explained that “Congress . . . saw a danger that [ends-of-justice] continuances

could get out of hand and subvert the Act's detailed scheme,” and therefore sought to “counteract

substantive openendedness with procedural strictness” by demanding “on-the-record findings and

specif[ying] in some detail certain factors that a judge must consider in making those findings.”

Id. at 508-509 (holding that “[e]xcusing the failure to make these findings as harmless error would

be inconsistent with the strategy embodied in § 3161(h).”).

          b.     Circumstances Surrounding the Pandemic Did Not Make it Impossible to Try this
                 Case

          The Government concedes that federal trials have been held since the first wave of COVID-

19 hit the United States, but then argues that Mr. Weigand’s right to a speedy trial is outweighed



2
    The Supreme Court, in the same opinion, discouraged such conduct: “The best practice, of course,
    is for a district court to put its findings on the record at or near the time when it grants the
    continuance.” See Zedner v. United States, 547 U.S. 489, n.7 (2006).

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by the COVID-19 pandemic simply because there is a “limit [to] the number of jury trials that

simultaneously can be conducted in a safe manner.” Gov. Opp. at 8-9. This interpretation of the

ends-of-justice exception is unsupported by the Government’s own cases.

          The operative ends-of-justice factor 3 here is § 3161(h)(7)(B)(i): “Whether the failure to

grant such a continuance in the proceeding would be likely to make a continuation of such

proceeding impossible, or result in a miscarriage of justice.” (emphasis added). The cases the

Government cites in which courts have invoked the ends-of-justice exception in the face of

unforeseeable emergencies all involve catastrophes that, for a brief period of time, made holding

trials at the respective courthouses a physical and logistical impossibility. See Gov. Opp. at 10

(citing cases). Indeed, in United States v. Olsen, a court in the Central District of California cited

the same cases (with the exception of one) to support its finding that “[c]ontinuances under the

‘ends of justice’ exception in the Speedy Trial Act are appropriate if without a continuance, holding

the trial would be impossible.” United States v. Olsen, SACR 17-00076-CJC, 2020 WL 6145206,

at *4 (C.D. Cal. Oct. 14, 2020) (emphasis in original). The Olsen court then explained, in great

detail, that although the “current pandemic is serious, and with little precedent[,] . . . under the

current circumstances, it is simply not a physical or logistical impossibility to conduct a jury trial.”

Id. at *5.




3
    Although the Government cites § 3161(h)(7)(B)(iii) & (iv) as well, [Gov. Opp. at 9], albeit
    without any explanation as to their applicability, the Court should not retroactively consider these
    factors. Section 3161(h)(7)(B)(iii) pertains to Speedy Trial Act time as it relates to the filing of
    an indictment. Section 3161(h)(7)(B)(iv) permits an ends-of-justice exception if the defendant
    or the Government would otherwise not have reasonable time to prepare for trial, which this
    Court has already concluded was not the case. See January 7 Conference, Tr. at 15:21-23 (“The
    whole reason for these adjournments is the pandemic, nothing else. The Government is ready to
    go. I’m ready to go.”).

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III.      The Court Should Dismiss the Indictment with Prejudice

          The Government argues that the Court should not dismiss the Indictment with prejudice

because: (1) the crime alleged is serious, (2) the violation of the Act was unintentional, and (3)

Mr. Weigand cannot establish prejudice. See Gov. Opp. at 10-12. The Government is wrong on

all three counts.

          First, the Government contends that the crime alleged is serious because “[t]he defendants

carried out a years-long scheme to deceive every participant in the payment processing system into

processing roughly $160 million of illegal transactions.” Gov. Opp. at 11. The Government’s

claim that the defendants deceived “every participant in the payment processing system” is

contradicted by the Government’s own allegations that other players in the payment industry were

willing4 participants. See, e.g., Gov. Motion in Limine [ECF No. 169] at 39-40 (discussing alleged

involvement of representative of payment processing company and acquiring bank). Also, the

Government has not produced any evidence demonstrating that Mr. Weigand was involved in a

single transaction processed by Eaze prior to 2018, nor have they produced evidence

demonstrating that Mr. Weigand’s participation continued into 2019. 5 Mr. Weigand has no


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    In response to Mr. Weigand’s claim that the issuing banks continue to approve transactions from
    Eaze, processed via Circle Internet Financial, Inc., the Government states, in conclusory fashion,
    that Mr. Weigand’s argument “rests on a fundamental misunderstanding as to how the technology
    they describe actually works.” Gov. Opp. at 12. However, the Government made no effort to
    elaborate on how this technology is materially different from the conduct charged in the
    Indictment. Absent such an explanation, the effect of Circle’s technology is clear: U.S. issuing
    banks have been approving millions of dollars in transactions that explicitly say “Eaze” in the
    descriptor. See Memorandum Order [ECF No. 177] at 9 (“In essence, Circle offers Eaze USD
    Coin as a fig leaf separating the issuing bank from Eaze. But -- and here is defendants’ key
    allegation -- Circle does not hide what it is doing from the banks.”). Critically, the issuing banks
    have been doing so despite the publicized 2019 civil case related to the charged conduct, and this
    highly publicized criminal case, in connection with which a good number of the issuing banks
    have received subpoenas.
5
    Indeed, as the Court is aware, in May 2019, the Government’s main cooperating witness placed
    a call to Mr. Weigand in attempt to procure incriminating information for the Government. Mr.
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criminal history and is charged with a non-violent crime where the alleged victims suffered no

monetary loss.

        Second, the Speedy Trial Act violation here was not unintentional. This is not a case where

a court simply lost track of its schedule. The suspension of jury trials was obviously intentional.

        Third, the Government cannot seriously contend that Mr. Weigand is not suffering

prejudice. He was incarcerated in a foreign country for seven months, during a pandemic, and

underwent surgery while in custody. He continues to be subject to stringent, and expensive, bail

conditions. Moreover, as detailed in Mr. Weigand’s opening brief, Mr. Weigand continues to

suffer the kind of non-trial prejudice highlighted by the Supreme Court in United States v. Taylor.

See Weigand Opening Brief at 12 (quoting United States v. Taylor, 487 U.S. 326, 340 (1988)).

IV.     Mr. Weigand’s Sixth Amendment Right to a Speedy Trial Has Been Violated

        The Government’s argument that Mr. Weigand’s Sixth Amendment right to a speedy trial

was not violated also fails.

        First, the Government concedes that courts have suggested that delays approaching a year

could be presumptively prejudicial. See Gov. Opp. at 14. Moreover, Mr. Weigand has not

affirmatively sought any continuance nor has he engaged in any pretrial litigation that prolonged

the delay. See, e.g., United States v. Schlegel, 687 F. App’x 26, 28 (2d Cir. 2017) (finding that

three year delay did not violate Sixth Amendment where defendant “sought several adjournments

of the trial to review the voluminous discovery, and joined in much of the litigation that caused

the delay . . .”).




 Weigand, in response to the Government’s cooperating witnesses’ reference to the charged
 scheme, stated “I’m not personally involved.” Weigand Motion to Suppress [ECF No. 69] at n.1.

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       Second, the Government’s contention that Mr. Weigand “ignored” the severity of COVID-

19, or the resulting human casualties, is completely unfounded. Mr. Weigand recognized several

times in his opening brief the severity of the COVID-19 pandemic, and the District’s thoughtful

procedures with respect to the pandemic. And it goes without saying that the loss of human life

due to this wretched virus is unimaginably tragic. However, this case is markedly different from

those cited in the Government’s brief, where holding trial was a logistical and physical

impossibility. See Gov. Opp. at 8. The right at issue here is an unwaivable constitutional right,

and where courts have the ability to hold trials, i.e., where trials are possible, as the Government

concedes, the right must be upheld. See United States v. Olsen, 2020 WL 6145206, at *4 (C.D.

Cal. Oct. 14, 2020).

       Third, Mr. Weigand did assert his desire for a speedy trial consistently. See ECF No. 125;

see also January 7 Conference, Tr. at 14:23-24. Mr. Weigand has asserted his right on the record,

both in writing and orally, objecting to any more adjournments after December 1, 2020. Id.

       Fourth, Mr. Weigand has been prejudiced, as Mr. Weigand has detailed in his opening

brief; in his motions for reconsideration of this Court’s bail decision; and also in his December 2,

2020 letter to the Court, in which he informed the Court that he did not consent to the exclusion

of Speedy Trial Act time from December 1 to January 15. See, generally, ECF No. 26 (Weigand’s

first motion for bail reconsideration); ECF No. 98 (Weigand’s second motion for bail

reconsideration); ECF No. 125 (Weigand’s December 2 letter); ECF No. 184 (Weigand’s motion

to dismiss).

                                         CONCLUSION

       For the foregoing reasons, defendant Weigand respectfully requests that this Court dismiss

the Indictment with prejudice.



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Dated: New York, New York            Respectfully submitted,
       February 26, 2021
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